                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                          C.A. No. 1:20-cv-10484-GAO
________________________________________________
EDWARD SULLIVAN, HEATHER SULLIVAN,               )
DOE CHILD 1, DOE CHILD 2, DOE CHILD 3 and        )
DOE CHILD 4,                                    )
      Plaintiffs,                               )
                                                )
vs.                                             )
                                                )
TOWN OF WALPOLE, MA, WALPOLE POLICE             )
DEPARTMENT, CHIEF JOHN F. CARMICHAEL, JR., )
OFFICER ANDREW KIEWLICZ, DET. MICHAEL           )
BENNER, DET. SGT. RICHARD KELLEHER,             )
OFFICER THOMAS HART, DET. KYLE GRIFFIN,         )
OFFICER MATTHEW CROWN, AND OTHER NAMES )
UNKNOWN TO THE PLAINTIFFS AT THIS TIME,         )
WALPOLE SCHOOL DEPARTMENT, VICE                 )
PRINCIPAL LEE TOBEY, AND OTHERS AS YET          )
UNKNOWN TO THE PLAINTIFFS,                      )
      Defendants.                                )

                         DEFENDANTS’ MOTION FOR JUDGMENT
                          ON THE PLEADINGS UNDER RULE 12(c)

       The defendants, the Town of Walpole; the Walpole Police Department; Police Chief John

J. Carmichael, Jr.; Police Officer Andrew Kiewlicz; Detective Michael Benner; Detective Sgt.

Richard Kelleher; SRO Thomas Hart; Detective Kyle Griffin; Police Officer Matthew Crown; the

Walpole School Department; and Walpole High School Vice Principal Lee Tobey (the

“defendants”), hereby move, under Rule 12(c) of the Federal Rules of Civil Procedure, for

judgment on the pleadings. As grounds therefor, the defendants state that plaintiffs’ Complaint

fails to state claims against the defendants upon which relief can be granted. Specifically:

   •   Plaintiff, Heather Sullivan, alleges no violations of her personal rights;

   •   Defendants, Walpole Police Department and Walpole School Department, are not separate

       legal entities subject to suit;
   •   The individual defendants are sued in their official capacity only;

   •   Defendant, WHS Vice Principal Lee Tobey, is immune from state law claims (Counts III

       & IV) under M.G.L. c. 119, § 51A(g);

   •   Plaintiffs fail to allege substantive due process claims for the violation of their “family

       integrity” rights (Count I);

   •   The minor plaintiffs fail to allege unreasonable seizures in violation of their Fourth

       Amendment rights (Count I);

   •   Plaintiffs fails to allege municipal liability claims (Count I);

   •   Plaintiffs fail to allege a civil rights conspiracy (Count II);

   •   Plaintiffs fail to allege claims under the Massachusetts Civil Rights Act (Count III);

   •   Plaintiffs fail to allege claims of intentional infliction of emotional distress (Count IV); and

   •   The municipal defendants are immune for intentional torts (Count IV).

The above grounds are set forth in further detail in the Memorandum of Law in Support of

Defendants’ Motion for Judgment on the Pleadings Under Rule 12(c) submitted herewith.

       WHEREFORE, the defendants hereby move that this Court dismiss plaintiffs’ Complaint

for failure to state claims upon which relief can be granted and enter judgment on the pleadings in

defendants’ favor pursuant to Fed. R. Civ. P. 12(c).

                             REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 7.1(D), the defendants respectfully request that this Court schedule
oral argument on their Motion for Judgment on the Pleadings.

                   CERTIFICATION PURSUANT TO LOCAL RULE 7.1

        Undersigned counsel for the defendants hereby certifies, pursuant to Local Rule 7.1(A)(2),
that on June 5, 2020, counsel conferred in good faith with counsel for the plaintiffs in an effort to
resolve the issues related to this Motion.



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                                          Respectfully submitted,

                                          The Defendants,
                                          TOWN OF WALPOLE, MA, WALPOLE POLICE
                                          DEPARTMENT, CHIEF JOHN F. CARMICHAEL, JR.,
                                          OFFICER ANDREW KIEWLICZ, DET. MICHAEL
                                          BENNER, DET. SGT. RICHARD KELLEHER,
                                          OFFICER THOMAS HART, DET. KYLE GRIFFIN,
                                          OFFICER MATTHEW CROWN, WALPOLE SCHOOL
                                          DEPARTMENT, and VICE PRINCIPAL LEE TOBEY,

                                          By their Attorneys,

                                          PIERCE DAVIS & PERRITANO LLP

                                          /s/ John J. Davis
                                          __________________________________
                                          John J. Davis, BBO #115890
                                          10 Post Office Square, Suite 1100N
                                          Boston, MA 02109
                                          (617) 350-0950
                                          jdavis@piercedavis.com

Dated: June 8, 2020


                                      CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and that a paper
copy shall be served upon those indicated as non-registered participants on June 8, 2020.


                                          /s/ John J. Davis
                                          _____________________________________
                                          John J. Davis, Esq.




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